                Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 1 of 23



                         IN THE UNITED STATES DISTRICT COURT FOR
                                 THE DISTRICT OF COLUMBIA

-------------------------------------------------------------- x
AXEL DIEGELMANN,                                               :
         Matschils 19, 9495                                    :
         Triesen, Liechtenstein,                               :
                                                               :
FRITZ DIEGELMANN,                                              :   Case No. 24-CV-1090
         Matschils 19, 9495                                    :
         Triesen, Liechtenstein,                               :
                                                               :   COMPLAINT FOR
RHEINGOLD EDELMETALL AG,                                       :   DECLARATORY AND
         Schliessa 16, 9495                                    :   INJUNCTIVE RELIEF
         Triesen, Liechtenstein,                               :
                                                               :
RHEINGOLD EDELMETALL GMBH,                                     :
         Schliessa 16, 9495                                    :
         Triesen, Liechtenstein ,                              :
                                                               :
                  and                                          :
                                                               :
LIEMETA AG,                                                    :
         Schliessa 16, 9495                                    :
         Triesen, Liechtenstein,                               :
                                                               :
                           Plaintiffs,                         :
                                                               :
         - against -                                           :
                                                               :
JANET YELLEN,                                                  :
         in her official capacity as                           :
         Secretary of the United States                        :
         Department of the Treasury                            :
         1500 Pennsylvania Ave., NW                            :
         Washington, D.C. 20220                                :
                                                               :
THE UNITED STATES DEPARTMENT OF                                :
THE TREASURY,                                                  :
         1500 Pennsylvania Ave., NW                            :
         Washington, D.C. 20220                                :
                                                               :




                                                          1
                Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 2 of 23



BRADLEY SMITH,                                                 :
    in his official capacity as                                :
    Director of the                                            :
    United States Department of the Treasury                   :
    Office of Foreign Assets Control                           :
    1500 Pennsylvania Ave., NW-Annex                           :
    Washington, D.C. 20220                                     :
                                                               :
                  and                                          :
                                                               :
THE UNITED STATES DEPARTMENT                                   :
OF THE TREASURY, OFFICE OF FOREIGN                             :
ASSETS CONTROL,                                                :
         1500 Pennsylvania Ave., NW-Annex                      :
         Washington, D.C. 20220                                :
                                                               :
                           Defendants.                         :
-------------------------------------------------------------- x

                   COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

        Plaintiffs, Axel Diegelmann (“A. Diegelmann”) and Fritz Diegelmann (“F. Diegelmann”)

(together, the “Diegelmanns”), Rheingold Edelmetall AG, Rheingold Edelmetall GmbH, and

Liemeta AG, (all entities collectively, “Diegelmann Entities,” and together with A. Diegelmann

and F. Diegelmann, “Plaintiffs”), by counsel, bring this Complaint against Defendants, the

Secretary of the Treasury Janet Yellen of the U.S. Department of Treasury, the United States

Department of the Treasury (“Treasury”), the United States Department of the Treasury’s Office

of Foreign Assets Control (“OFAC”) and its Director, Bradley Smith (collectively, the

“Defendants”), and in support of their Complaint allege:

                                           NATURE OF THE CASE

        1.       This lawsuit arises from the Defendants’ unlawful designation of Plaintiffs to

OFAC’s List of Specially Designated Nationals and Blocked Persons (the “SDN List”) which

exceeded Defendants’ legal authority, purportedly under the authority of Executive Order (E.O.)

14024 (April 15, 2021), and for which there is no credible evidence.



                                                          2
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 3 of 23



        2.     On February 23, 2024, OFAC announced through a press release (“OFAC’s Press

Release”) that it had designated Plaintiffs for “operating in the metals and mining sector of the

Russian Federation economy.” OFAC’s Press Release makes unsubstantiated, broad allegations

against Plaintiffs, which are false and inadequate as a matter of law to sustain the designations of

Plaintiffs.

        3.     In response to Russia’s aggression against Ukraine, President Joseph R. Biden

declared a national security emergency and invoked the powers delegated to the President by

Congress in the International Emergency Economic Powers Act (“IEEPA”) to impose sweeping

sanctions on Russian individuals and entities. The stated purpose of these sanctions was to put

economic pressure on Russia to withdraw its forces from Ukraine. The power delegated under

IEEPA generally gives implementing authority to OFAC, which in turn designates the specific

individuals and entities to be sanctioned. Since February 2022, Defendant OFAC and the State

Department have collectively designated over 4,000 entities and individuals pursuant to Russia

related sanction authorities.

        4.      Plaintiffs first learned of the designations through the media following Defendant

OFAC’s publication of its Press Release, which contains only conclusory allegations that lacked a

factual basis and credible evidence to support them. In fact, many of the allegations demonstrate a

stunning ignorance of the industry and business that Plaintiffs are engaged in.

        5.     Moreover, Defendants’ allegations appear to conflate two separate concepts –

sectoral sanctions on one hand and derivative sanctions on the other – to achieve a result that is

impermissible under the Russian Harmful Foreign Activities Sanctions. Specifically, E.O. 14024

authorizes the Treasury Secretary to designate people and entities based on their involvement in

certain sectors of the Russian Federation economy, but Defendant OFAC has been very clear that

not all participants in those sectors are deemed blocked. See OFAC FAQ 1127. Rather, operating


                                                 3
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 4 of 23



in a sanctioned sector exposes an entity to designation, but unless and until Defendant OFAC

specifically designates an entity for operating within the sanctioned sector, the entity is not blocked.

Id.

       6.      Separately, E.O. 14024 authorizes designation to the SDN List for providing

material assistance to sanctioned individuals and entities. However, E.O. 14024 does not authorize

designation based on material assistance to non-sanctioned entities operating in a sanctioned sector.

       7.      Plaintiffs were designated on February 23, 2024. In the corresponding press release,

Defendant OFAC boasted that it was “sanctioning almost 300 individuals and entities […] the

largest number of sanctions imposed since Russia’s full-scale invasion of Ukraine.” This was not

the first time Defendant OFAC made specific mention of the number of people and entities it was

sanctioning, touting its effectiveness by focusing on the quantity of those sanctioned rather than the

quality of the evidence to support the designations.

       8.      Plaintiffs were accused in OFAC’s Press Release of having “collaborated with

Russia-based metals companies to disguise the origin of Russian precious metals,” for having

“assisted Russian clients to launder funds by buying and selling precious metals for cash, illicitly

circumventing international sanctions,” and for taking “steps to obfuscate the ownership of Russian

clients and the beneficiaries of these transactions.” Additionally, OFAC alleged that Bernd

Diegelmann (Bernd) was “a UAE-based employee of Rheingold Edelmetall AG, [who] arranged

the sale of Russian precious stones in the UAE.” None of these allegations are true, as discussed in

further detail below.

       9.      On March 13, 2024, Plaintiffs, through counsel and in an attempt to understand the

basis for OFAC’s allegations, demanded that Defendant OFAC produce the administrative record

purporting to substantiate Plaintiffs’ designations. Defendant OFAC acknowledged receipt of the

request on March 14, 2024, but it has not substantively responded. On April 16, 2024, Plaintiffs,


                                                   4
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 5 of 23



by counsel, submitted petitions for removal from the SDN List through the administrative

reconsideration process pursuant to 31 C.F.R. § 501.807.

       10.     Despite historic cooperation with U.S. allies, which includes reciprocal sanctions,

no other nation in the world has sanctioned Plaintiffs. Notably, this includes Ukraine itself, which

has sanctioned thousands of individuals and entities since the Russian invasion, but not Plaintiffs.

       11.     Beyond the lack of evidence to support Defendants’ vague and conclusory

allegations, Defendants exceeded their legal authority in designating Plaintiffs to the SDN List.

Here, Plaintiffs have been designated for “operating in the metals and mining sector of the Russian

Federation economy” when, in fact, even Defendants’ own allegations do not allege conduct that

would fall within the statutory and regulatory definition of that term or Defendant OFAC’s own

interpretation of the regulations. Specifically, the statutory definition of “operating in the metals

and mining sector of the Russian Federation economy” includes “any act, process, or industry of

extracting, at the surface or underground, ores, coal, precious stones, or any other minerals or

geological materials in the Russian Federation, or any act of procuring, processing, manufacturing,

or refining such geological materials, or transporting them to, from, or within the Russian

Federation.” See OFAC FAQ 1115. As stated by OFAC, this is the definition the agency “used to

define the same term in the Ukraine/Russia-related Sanctions Regulations (see 31 CFR 589.325).”

Id.

       12.     In this Complaint, Plaintiffs assert three claims. First, in designating Plaintiffs,

OFAC exceeded the powers extended by E.O. 14024. Second, in exceeding their statutory

authority, Defendants’ designation of Plaintiff to the SDN List is therefore, arbitrary, capricious,

and constitutes an abuse of discretion. Third, Defendants’ imposition of sanctions on Plaintiffs

failed to identify any credible evidence, and is therefore, arbitrary, capricious, and constitutes an

abuse of discretion.


                                                 5
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 6 of 23



        13.     The unlawful designations of Plaintiffs to the SDN List by Defendants have the

effect of (i) unilaterally blocking, or freezing, any property or interests in property of Plaintiffs that

are in the United States or in the possession or control of U.S. persons, and (ii) unilaterally

prohibiting U.S. persons from engaging in transactions with any of them.

        14.     Defendant OFAC’s administrative reconsideration process, however, cannot address

Defendants’ unlawful actions purportedly under the authority of E.O. 14024. These unlawful

designations have caused, and unless set aside and/or enjoined will continue to cause, irreparable

harm and damage to Plaintiffs’ reputations, endanger the survival of their businesses, deprive them

of their rights to access and enjoy their property, and place their clients, none of whom are

sanctioned in the U.S., at risk of harm.

                                   JURISDICTION AND VENUE

        15.     This action arises under the U.S. Constitution, the International Emergency

Economic Powers Act, 50 U.S.C. § 1701 et seq., and the Administrative Procedure Act, 5 U.S.C.

§§ 555 and 701 et seq. This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331 because this action arises under the laws of the United States.

        16.     This Court may grant declaratory relief pursuant to the Declaratory Judgment Act,

28 U.S.C. § 2201 et seq., and Fed. R. Civ. P. Rule 57. This Court may grant injunctive relief

pursuant to Fed. R. Civ. P. Rule 65.

        17.     Venue is proper in the District of Columbia as this is the district in which the events

giving rise to the Complaint occurred and in which Defendants reside. See 28 U.S.C. §§ 1391(b)

and (e).

                                               PARTIES

        18.     Plaintiff Axel Diegelmann is a citizen of Germany and a resident of Lichtenstein. He

is the owner of Rheingold Edelmetall AG, Rheingold Edelmetall GmbH, and Liemeta AG. On


                                                    6
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 7 of 23



February 23, 2024, A. Diegelmann was sanctioned by OFAC and added to its SDN List for allegedly

operating or having operated in the metals and mining sector of the Russian Federation economy

and for being or having been a leader, an official, a senior executive officer, or member of the board

of directors of Rheingold Edelmetall AG.

       19.     Plaintiff Fritz Diegelmann is a citizen of Germany and a resident of Lichtenstein.

He is an employee of Rheingold Edelmetall AG and Liemeta AG and does not have an ownership

interest in either company. On February 23, 2024, F. Diegelmann was sanctioned by OFAC and

added to its SDN List for allegedly operating or having operated in the metals and mining sector of

the Russian Federation economy and for being or having been a leader, an official, a senior

executive officer, or a member of the board of directors of Rheingold Edelmetall AG.

       20.     Plaintiff Rheingold Edelmetall AG is a Liechtenstein-based precious metals

investment firm owned and directed by A. Diegelmann. The company handles precious metals

trading and also offers services to customers to store such metals, along with other assets, at a secure

vault owned and operated by affiliate entities also owned by A. Diegelmann. Rheingold Edelmetall

AG was designated pursuant to E.O. 14024 for allegedly operating or having operated in the metals

and mining sector of the Russian Federation economy.

       21.     Plaintiff Rheingold Edelmetall GmbH is a wholly owned subsidiary of Rheingold

Edelmetall AG. On February 23, 2024, Rheingold Edelmetall GmbH was designated pursuant to

E.O. 14024 on the sole basis that it is owned or controlled by Rheingold Edelmetall AG.

       22.     Plaintiff Liemeta AG is a Liechtenstein-based precious metals investment firm and

storage company owned by A. Diegelmann. On February 23, 2024, Liemeta AG was designated

pursuant to E.O. 14024 on the sole basis that it is owned or controlled by A. Diegelmann.

       23.     Defendant Janet Yellen is the Secretary of the Treasury of the United States. Ms.

Yellen is sued in her official capacity.


                                                   7
               Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 8 of 23



         24.    Defendant the U.S. Department of the Treasury is a cabinet-level governmental

department, led by the Secretary of the Treasury. In addition to its core objective of promoting

economic prosperity and ensuring the financial security of the United States, it implements and

administers economic sanctions against foreign threats to the United States. It is located at 1500

Pennsylvania Ave., NW, Washington, D.C. 20220.

         25.    Defendant Bradley Smith is the Director of OFAC. Mr. Smith is being sued in his

official capacity.

         26.    Defendant OFAC is a federal administrative agency of the U.S. Department of the

Treasury and is located at 1500 Pennsylvania Ave., NW, Freedman’s Bank Building, Washington,

D.C. 20220. OFAC is responsible for administering U.S. economic sanctions programs, including

issuing regulations pursuant to the laws and Executive Orders authorizing economic sanctions

actions. OFAC is also the agency responsible for designating persons as SDNs and enforcing U.S.

sanctions. OFAC’s sanctions responsibilities include designations and implementation under E.O.

14024.

                       STATEMENT OF FACTS AND ALLEGATIONS

         27.    On February 23, 2024, OFAC announced through a press release (“OFAC’s Press

Release”) that it had designated Plaintiffs pursuant to E.O. 14024 for allegedly operating in the

metals and mining sector of the Russian Federation economy.

                              Background of Plaintiffs’ Businesses

         28.    Plaintiffs have operated in the precious metals industry for over a decade. Their

business focuses on the trading of precious metals, including the acquisition and sourcing of such

metals, as well as their sale. A separate line of business involves the storage of precious metals in

secure facilities. Plaintiffs do not have any capacity or resources to process or refine any precious




                                                 8
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 9 of 23



metals. Further, Plaintiffs have no capacity to transport precious metals across borders, and all such

transportation of precious metals is handled by third parties.

       29.     Plaintiff A. Diegelmann operates the Diegelmann Entities using a number of

companies based in Germany, Liechtenstein, and Hong Kong, each with generally distinct

functions, all of which are owned upstream by Plaintiff A. Diegelmann. As companies operating

in Liechtenstein and Germany, the businesses operate in a fully regulated industry, which requires,

inter alia, robust sanctions screening, anti-money laundering protocols and periodic financial

auditing.

       30.     Over the years, Plaintiffs have developed a reputation as reliable and upstanding

players in the precious metals trading and storage sector. Until their designation onto the SDN List,

Plaintiffs were never subject to any regulatory or disciplinary action.           Despite extensive

coordination between Western allies confronting Russia’s aggression against Ukraine, which

includes mirroring of sanctions, no jurisdiction in the world – including Ukraine itself – has imposed

sanctions on Plaintiffs other than the United States.

                               Defendants’ Sanctioning Authority

       31.     The general policy and purpose of the IEEPA is to deal with any unusual and

extraordinary threat, which has its source in whole or substantial part outside the United States, to

the national security, foreign policy, or economy of the United States, if the President of the United

States declares a national emergency with respect to such threat. 50 U.S.C. § 1701(a). Executive

Orders can provide detailed instructions to federal agencies on how to implement and enforce the

measures authorized under IEEPA. They may specify the procedures for license applications,

reporting requirements, and enforcement mechanisms. Without specific instructions in enabling




                                                  9
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 10 of 23



Executive Orders, Defendant OFAC lacks the statutory authority to impose sanctions or designate

individuals and entities to the SDN List.

       32.     On April 15, 2021, President Biden issued Executive Order 14024 (“E.O. 14024”)

to address “specified harmful foreign activities of the Government of the Russian Federation.”

Section 1(a)(i) of E.O. 14024 imposed economic sanctions on “any person determined by the

Secretary of the Treasury, in consultation with the Secretary of State, or the Secretary of State, in

consultation with the Secretary of the Treasury, to operate or have operated in such sectors of the

Russian Federation economy as may be determined by the Secretary of the Treasury, in consultation

with the Secretary of State.” Based on that section, then-OFAC Director Andrea Gacki issued a

Determination on February 24, 2023 (the “February 24, 2023 Determination”), which stated,

“section 1(a)(i) of E.O. 14024 shall apply to the metals and mining sector of the Russian Federation

economy. Any person determined, pursuant to section 1(a)(i) of E.O. 14024, to operate or have

operated in this sector shall be subject to sanctions pursuant to section 1(a)(i).”

       33.     Importantly, however, E.O. 14024 and the February 24, 2023 Determination expose

those operating in the metals and mining sector of the Russian Federation economy to sanctions,

but they do not prohibit transactions with actors in that space unless such actors have first been

designated to the SDN List. See OFAC FAQ 1116 (“a sector determination does not automatically

impose sanctions on all persons who operate or have operated in the sector. Only persons

determined pursuant to E.O. 14024 to operate or have operated in the above-identified sector are

subject to sanctions.”).

       34.     For the purposes of the February 24, 2023 Determination, the term “metals and

mining sector of the Russian Federation economy” includes any act, process, or industry of

extracting, at the surface or underground, ores, coal, precious stones, or any other minerals or

geological materials in the Russian Federation, or any act of procuring, processing, manufacturing,


                                                   10
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 11 of 23



or refining such geological materials, or transporting them to, from, or within the Russian

Federation. See OFAC FAQ 1115. As stated by Defendant OFAC, this is the definition the agency

“used to define the same term in the Ukraine/Russia-related Sanctions Regulations (see 31 CFR

589.325).” Id.

        35.      Section 589.325 of the Ukraine-Related Sanctions Regulations, 31 CFR Part 589, in

turn, states that

                 [t]he term metals and mining sector of the Russian Federation economy
                 includes any act, process, or industry of extracting, at the surface or
                 underground, ores, coal, precious stones, or any other minerals or geological
                 materials in the Russian Federation, or any act of procuring, processing,
                 manufacturing, or refining such geological materials, or transporting them
                 to, from, or within the Russian Federation.”

31 C.F.R. § 589.325 (emphasis added).

        36.      Further, E.O. 14024 also states that non-U.S. persons who “have materially assisted,

sponsored, or provided financial, material, or technological support for, or goods or services in

support of […] any person whose property and interests in property are blocked pursuant to this

order.” E.O. 14024 §1(a)(vi)(B) (emphasis added).

                              Defendants’ Unlawful Actions Have and
                              Will Continue to Cause Substantial Harm

        37.      Defendants’ actions and the blocking sanctions by OFAC have caused Plaintiffs

substantial harm and already brought about immediate and severe consequences, inflicting grave

and irreparable harm upon Plaintiffs and their reputations, disrupting business relationships enjoyed

by Plaintiff A. Diegelmann and companies under his ownership and control, and also negatively

impacting the employees of those companies by jeopardizing their livelihoods and their families who

depend on these companies for their financial well-being.

        38.      Since their designation on February 23, 2024, Plaintiffs have had little access to their

funds for the operation of their businesses, paying their basic living expenses, or satisfying their


                                                    11
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 12 of 23



financial obligations. The blocking sanctions effectively prohibit banks around the world with

correspondent institutions in the United States (which is the vast majority of banks in the world)

from dealing with Plaintiffs, as doing so could easily trigger derivative designations severing their

own ties with the U.S. financial system, with adverse repercussions reverberating far beyond the

United States. All these consequences flow from the improper designation of Plaintiffs as SDNs.

       39.     The Diegelmanns are unable to use most of their domestic banking channels in

Liechtenstein and what is remaining risks imminent closure by the end of May. In a part of the

world that relies heavily on electronic payments and where some counterparties do not even accept

cash, they are forced to only use cash. This is not only for regular purchases, but basic sustenance

expenditures, such as rent and utilities. They are at serious risk of being evicted from their home

and unable to secure new housing.

       40.     Relatedly, as a result of OFAC’s blocking action, A. Diegelmann’s cattle farm in

Paraguay is now unable to procure feed for the cattle because providers are concerned that supplying

the farm will result in their own designation to the SDN List. As a result, over 2,500 cattle are in

imminent risk of death by starvation, in addition to risks associated with neglect as the farm is

forced to lay off its employees that care for the cattle. To prevent this crisis, Plaintiffs, through

counsel, submitted a request for authorization and/or guidance from OFAC to allow providers to

supply the farm and/or interpretive guidance with respect to the conditional release of funds for the

farm’s benefit. However, upon information and belief, OFAC has an internal policy that the agency

will not take action without a clear U.S. nexus.

       41.     Plaintiffs are subject to these blocking and entry sanctions indefinitely, to the

substantial harm of Plaintiffs. Defendants imposed these blocking and entry sanctions despite the

fact that their allegations against Plaintiffs lack credible evidence or factual support, are impossible

as a practical matter, and exceed Defendants’ legal authority.


                                                   12
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 13 of 23



       42.     Separately, the continued designation, unless swiftly rescinded, is assured to not

only destroy the family businesses, but place the fate of hundreds of millions of dollars of assets

held in Liechtenstein for the benefit of innocent customers in jeopardy. As an example, A.

Diegelmann’s company OZL, which operates a secured vault in Liechtenstein, has been informed

by its insurer that it will cancel coverage for the protection of the vault at the end of May 2024.

Without this insurance, hundreds of millions of dollars in precious metals and other valuables stored

in the vault run the risk of theft and/or destruction without any coverage. If this were to happen,

these parties could not even seek reasonable redress because Plaintiffs’ assets are generally blocked,

precluding the option of attachment of assets.

                              Defendants’ Conclusory Allegations Are
                        Counterfactual and Unsupported by Credible Evidence

       43.     Defendants’ designations of Plaintiffs are counterfactual and thus not supported by

credible evidence. In some cases, Defendants’ allegations reveal a stunning ignorance of the gold

trading industry, both in terms of what is practically feasible and the regulatory environment in

which the industry operates.

       44.     OFAC’s Press Release announcing the sanctions states that Plaintiffs “collaborated

with Russia-based metals companies to disguise the origin of Russian precious metals.” As an initial

matter, Plaintiffs categorically deny any transactions with Russian companies operating in the metals

and mining sector of the Russian Federation economy. Plaintiffs’ only transactions involving

precious metals originating from Russia occurred in 2021 – prior to the imposition of sanctions on

the Russian metals and mining sector – and was limited to the receipt of Russian silver from a client

for storage purposes.

       45.     Plaintiffs’ only interaction with a company involved in the metals and mining sector

of the Russian Federation economy was with International Company JSC Highland Gold (“Highland

Gold”), a Russian-based gold mining company that was designated to the SDN List on December

                                                  13
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 14 of 23



12, 2023. The interaction with Highland Gold was limited to preliminary discussions regarding

constructing a vault in Oman, a venture that never proceeded past the discussion phase, and did not

result in any executed contracts or completed transactions.

        46.    Separately, this allegation displays an ignorance of how the international gold trade

operates. In order to “disguise” the origin of Russian gold, one would have to have access to

refining equipment that Plaintiffs do not have access to nor have any means of procuring. Further,

gold bars come in various sizes and shapes, ranging from small bars weighing a few grams to large

bars weighing several kilograms and the manufacturing process involves melting the refined gold

and pouring it into molds to form bars of the desired size and weight. These bars are then stamped

with markings indicating the purity, weight, and the name of the issuing refinery. As a result, the

only way to “disguise” the origin of Russian gold is to alter the stamps on the bars themselves, a

process which Plaintiffs do not have the capacity to do in their facilities.

        47.    Moreover, even if Plaintiffs had the capacity to “disguise” the origin of Russian gold,

there are industry reasons why it would be futile to do so. As an initial matter, the gold industry is

subject to various regulations and standards governing the production, certification, and sale of gold

bars.   As with the trading of all valuable metals, the sale of gold comes with significant

documentation and certification, all of which is designed to prevent the “disguise” of a precious

metal’s origin. Further, manufacturers and refiners of gold take significant measures to prevent

tampering and ensure the integrity of their stamps, including employing sophisticated security

features and techniques to make it difficult to alter or counterfeit stamps on gold bars. These may

include holograms, microprinting, special inks, or embossing techniques that are challenging to

replicate. Many gold bars are serialized, meaning they have a unique serial number stamped on

them. This allows for traceability throughout the supply chain, making it more difficult to alter

stamps without raising suspicions. Any discrepancies or irregularities in the stamps or serial


                                                   14
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 15 of 23



numbers would likely be detected during inspections or audits. Furthermore, purchasers of gold

regularly verify these indicators before completing any purchase, meaning that, as a practical

matter, the precious metals industry is well-versed and sophisticated in identifying gold that has

been altered or counterfeit or that may be originating from somewhere other than its true source.

       48.     Furthermore, manufacturers and refiners in the gold industry rely on their reputation

and trustworthiness to maintain business relationships with customers and partners. Any actor in

the space found to be deliberately altering stamps on gold bars to deceive customers would severely

damage their reputation, and it would almost certainly be catastrophic for their business.

       49.     OFAC’s press release also states that “Axel, Fritz, and Rheingold Edelmetall AG

also assisted Russian clients to launder funds by buying and selling precious metals for cash, illicitly

circumventing international sanctions” and “Rheingold Edelmetall AG took steps to obfuscate the

ownership of Russian clients and the beneficiaries of these transactions.” Both of these allegations

are untrue and ignore the fact that Plaintiffs operate in a heavily regulated sector that is subject to

stringent oversight designed to detect and deter the type of conduct described in the allegations.

       50.     Plaintiffs do not deny that they purchase precious metals on behalf of their clients.

Indeed, that is the purpose of their business. However, there is simply no basis to believe the

conclusory allegations that Plaintiffs are engaged in “money laundering” or “illicitly circumventing

international sanctions.” Plaintiffs operate in a sector that is fully regulated, with a particular

emphasis on deterring money laundering. Plaintiffs’ operations occur under the auspices of a rigid

compliance program with name screening and are subject to third party audit by the local financial

market authority. Additionally, the financial records of Rheingold Edelmetall AG are externally

audited by a leading international accounting firm.

       51.     Furthermore, Rheingold Edelmetall AG and Liemeta AG are subject to the

Liechtenstein Due Diligence Act (“DDA”), which requires the company to identify and verify the


                                                   15
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 16 of 23



identity of the contracting party, the beneficial owner, to establish a business profile, monitor

business relationships according to the risk assessment and notify local officials if it suspects money

laundering or any predicate offense to money laundering. Rheingold must document its compliance

with these due diligence requirements and maintain documents and records for at least 10 years

from the end of the business relationship.

       52.     Rheingold is regulated by the Liechtenstein Financial Market Authority, which

carries out ordinary inspections by auditors or auditing companies on a periodic basis with respect

to compliance with the DDA.

       53.     Rheingold and OZL also have internal guidance requirements. Every year, the Due

Diligence officer must create a report on how the standards for compliance were achieved.

Additionally, an internal investigator officer must check and review the Due Diligence Officer’s

report and take Know Your Customer (“KYC”) samples from clients and review them and

eventually file a report. Lastly, this officer also creates a Business Risk Assessment and a client risk

assessment report for the whole company. This is in addition to standard annual financial audits by

a globally recognized accounting firm.

       54.     Further, through methods such as assays, refining, and stamps, watermarks, and QR

codes, the origin of gold can be readily ascertainable and confirmed by a potential buyer. This

makes the sale of undocumented gold nearly impossible, impractical, and outside of industry

custom.

       55.     OFAC’s final allegation is that “German national Bernd Guenter Diegelmann

(Bernd), a UAE-based employee of Rheingold Edelmetall AG, arranged the sale of Russian

precious stones in the UAE.” However, Bernd Diegelmann is not an employee of Rheingold

Edelmetall AG, nor have any of his activities in the UAE been directed by or performed on behalf

of Plaintiffs. As such, Plaintiffs’ designation based on any of Bernd Diegelmann’s activities, even


                                                   16
               Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 17 of 23



if true, amounts to guilt by association based on familial relation rather than any legitimate or legal

basis.

                           Defendants’ Allegations Are Legally Flawed and
                            Do Not Validly Support Plaintiffs’ Designation

         56.    However, even if Defendants’ allegations were true – and they are not – none of

them constitute “operating in the metals and mining sector of the Russian Federation economy.”

Section 1(a)(i) of E.O. 14024 imposes economic sanctions on “any person determined by the

Secretary of the Treasury, in consultation with the Secretary of State, or the Secretary of State, in

consultation with the Secretary of the Treasury, to operate or have operated in such sectors of the

Russian Federation economy as may be determined by the Secretary of the Treasury, in consultation

with the Secretary of State.”

         57.    Based on that section, then-OFAC Director Andrea Gacki issued the February 24,

2023 Determination, which stated, “section 1(a)(i) of E.O. 14024 shall apply to the metals and

mining sector of the Russian Federation economy. Any person determined, pursuant to section

1(a)(i) of E.O. 14024, to operate or have operated in this sector shall be subject to sanctions pursuant

to section 1(a)(i).” Importantly, however, E.O. 14024 and the February 24, 2023 Determination

expose those operating in the metals and mining sector of the Russian Federation economy to

sanctions, but they do not prohibit transactions with actors in that space unless those actors have

been specifically designated. See OFAC FAQ 1116 (“a sector determination does not automatically

impose sanctions on all persons who operate or have operated in the sector. Only persons

determined pursuant to E.O. 14024 to operate or have operated in the above-identified sector are

subject to sanctions.”).

         58.    For the purposes of the February 24, 2023 Determination, the term “metals and

mining sector of the Russian Federation economy” includes any act, process, or industry of


                                                   17
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 18 of 23



extracting, at the surface or underground, ores, coal, precious stones, or any other minerals or

geological materials in the Russian Federation, or any act of procuring, processing, manufacturing,

or refining such geological materials, or transporting them to, from, or within the Russian

Federation. See OFAC FAQ 1115. As stated by Defendant OFAC, this is the definition the agency

“used to define the same term in the Ukraine/Russia-related Sanctions Regulations (see 31 CFR

589.325).” Id.

        59.      Section 589.325 of the Ukraine-Related Sanctions Regulations, 31 CFR Part 589, in

turn, states that

                 [t]he term metals and mining sector of the Russian Federation economy
                 includes any act, process, or industry of extracting, at the surface or
                 underground, ores, coal, precious stones, or any other minerals or geological
                 materials in the Russian Federation, or any act of procuring, processing,
                 manufacturing, or refining such geological materials, or transporting them
                 to, from, or within the Russian Federation.”

31 C.F.R. § 589.325 (emphasis added).

        58.      Even assuming OFAC’s allegations were true – which, again, Plaintiffs vehemently

deny that they are not – none would constitute “operating in the metals and mining sector of the

Russian Federation economy” as that term has been clearly defined. There is no basis to assert that

the alleged activity involved the extraction of gold from inside of Russia or “procuring, processing,

manufacturing, or refining such geological materials, or transporting them to, from, or within the

Russian Federation.”

        59.      Separately, E.O. 14024 does not authorize the designation of individuals and entities

for merely selling gold to non-sanctioned Russians persons or storing gold for such persons. This

position is supported by OFAC’s FAQ 1029, which states, in relevant part:

                    Gold-related transactions involving the Russian Federation may be sanctionable
                    under E.O. 14024 or other Russia-related sanctions authorities. For example, E.O.
                    14024 authorizes sanctions against:



                                                   18
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 19 of 23



                   Persons determined to be responsible for or complicit in, or to have directly or
                   indirectly engaged or attempted to engage in, deceptive or structured transactions
                   or dealings to circumvent U.S. sanctions, including through the use of assets
                   such as gold or other precious metals;

                   Persons determined to operate or to have operated in the financial services
                   sector of the Russian Federation economy, which could include those engaging
                   in gold-related transactions involving the Russian Federation; and

                   Persons that have materially assisted, sponsored, or provided financial, material,
                   or technological support for, or goods or services to or in support of, persons
                   blocked under E.O. 14024. This could include transactions in gold or other
                   precious metals that involve such blocked persons.

See OFAC FAQ 1029 (emphasis added).

       60.     By stating that gold-related transactions involving the Russian Federation “may be

sanctionable,” Defendant OFAC concedes that not all gold-related transactions involving gold of

Russian origin are prohibited or in violation of U.S. sanctions. Indeed, OFAC FAQ 1029 details

conduct that would be sanctionable for separate reasons, including circumvention of U.S. sanctions,

operating in other sanctioned sectors, or providing material assistance to those on the SDN List.

However, none of Defendant OFAC’s allegations touch on any of the above-described activity.

There is no allegation that Plaintiffs operated in the financial services sector of the Russian

Federation economy, nor is there any allegation that any “Russian-based metals companies” that

Plaintiffs allegedly collaborated with were blocked or sanctioned. And even if the “disguise” of

the source of Russian gold were practically feasible, there is no allegation that it was done to evade

U.S. sanctions. Indeed, Plaintiffs have very few touchpoints with the United States. None of their

clients are U.S. citizens, and only three of its clients are U.S. residents, all of whom are merely

depositors with Plaintiffs.      And, tellingly, Defendants’ allegation accuses Plaintiffs of

circumventing “international sanctions,” not U.S. sanctions.

       61.     Further, there is no indication that any of the “Russian clients” mentioned in the

second and third allegations were sanctioned – indeed, the Plaintiffs’ client lists do not reflect that


                                                  19
             Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 20 of 23



any are sanctioned – meaning that Plaintiffs could not be derivatively sanctioned for providing

material assistance to a designated person or entity. Rather, the allegation seems to be based on the

premise that if the Plaintiffs purchased gold on behalf of a non-sanctioned Russian person, then this

would constitute “money laundering” or an evasion of U.S. sanctions. Simply put, that is not the

law.

       62.     Specifically, while E.O. 14024 authorizes derivative sanctions, it does so only in the

context of material support to an individual or entity already sanctioned by the U.S.:

               (1) any person determined by the Secretary of the Treasury […]

                       […]
               (vi)    to have materially assisted, sponsored, or provided financial,
                       material, or technological support for, or goods or services to
                       or in support of:
                       […]
               (B)     any person whose property and interests in property are
                       blocked pursuant to this order[.]
E.O. 14024 §1(a)(vi)(B) (emphasis added).

       64.     As a result, E.O. 14024 does not grant Defendant OFAC the authority to sanction

an individual or an entity for providing material assistance to a sector of the Russian Federation

economy, even if that sector has been sanctioned as a whole. See, e.g., OFAC FAQs 980, 1116

(“a sector determination does not automatically impose sanctions on all persons who operate or

have operated in the sector. Only persons determined pursuant to E.O. 14024 to operate or have

operated in the above-identified sector are subject to sanctions.”).

       63.     Defendants’ final allegation – that Bernd Diegelmann “arranged for the sale” of

Russian precious stones in the UAE – is likewise legally flawed. Even if Bernd Diegelmann was

acting at Plaintiffs’ direction – which he was not – there is no allegation that Bernd of Plaintiffs

was involved it the extraction of the alleged “Russian precious stones” or their transport from


                                                  20
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 21 of 23



Russia, nor is there any allegation that they were sold to circumvent U.S. sanctions or on behalf of

sanctioned individuals. Accordingly, for the same reasons set forth above, Defendants’ allegation,

even if true, would not be a legally proper basis for designation.

                                        CAUSES OF ACTION

                                    COUNT I
                   DEFENDANTS HAVE EXCEEDED THEIR STATUTORY
                         AND CONSTITUTIONAL AUTHORITY

        64.     Paragraphs 1 through 63 are re-alleged and incorporated by reference as though

fully set forth herein.

        65.     Under the Administrative Procedure Act, 5 U.S.C. § 551 et seq. (“APA”), “ the

reviewing court shall . . . hold unlawful and set aside agency action, findings, and conclusions found

to be . . . in excess of statutory jurisdiction, authority, or limitations, or short of statutory right.” 5

U.S.C. § 706(2)(C).

        66.     In order for OFAC to impose sanctions on an person or entity for “operating within

the metals and mining sector of the Russian Federation economy,” there must be reason to believe

that the person or entity has engaged in “any act, process, or industry of extracting, at the surface

or underground, ores, coal, precious stones, or any other minerals or geological materials in the

Russian Federation, or any act of procuring, processing, manufacturing, or refining such geological

materials, or transporting them to, from, or within the Russian Federation.” 31 C.F.R. § 589.325.

        67.     Defendants’ imposition of blocking sanctions on Plaintiffs was not in accordance

with law because there has been no allegation that Plaintiffs engaged in any act of extraction of any

precious metals in the Russian Federation or any act of procurement, processing, manufacturing or

refining of precious metals or transporting such materials to, from or within the Russian Federation.




                                                    21
              Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 22 of 23



        68.     The Court should therefore hold unlawful and set aside the Defendants’ designation

of Plaintiffs as SDNs, their inclusion on the SDN List, and the imposition of blocking sanctions

upon Plaintiffs.

                                 COUNT II
        DEFENDANTS’ DESIGNATION OF PLAINTIFFS WAS ARBITRARY AND
        CAPRICIOUS IN THAT IT WAS NOT BASED ON CREDIBLE EVIDENCE

        69.     Paragraphs 1 through 63 are re-alleged and incorporated by reference as though fully

set forth herein.

        70.     Under the APA, agency action, findings, and conclusions found to be arbitrary,

capricious, an abuse of discretion, or otherwise not in accordance with law, 5 U.S.C. § 706(2)(A),

and agency action found to be without observance of procedure required by law, 5 U.S.C.

§ 706(2)(D), shall be held unlawful by a reviewing court and set aside.

        71.     Defendants’ imposition of sanctions on Plaintiffs was based on conclusory

allegations, failed to identify any credible evidence, was contrary to fact, and is, therefore, arbitrary,

capricious, an abuse of discretion, and otherwise not in accordance with the law.

        72.     The Court should therefore hold unlawful and set aside the Defendants’ designation

of Plaintiffs as SDNs, their inclusion on the SDN List, and the imposition of blocking sanctions

upon Plaintiffs.

                                       REQUEST FOR RELIEF

         Wherefore, Plaintiffs request the Court to provide the following relief:

         1.         Declare unlawful and set aside Defendants’ designation of Plaintiffs as SDNs and

 their placement on the SDN List and direct the removal of the designation of Plaintiffs as SDNs

 and of their placement on the SDN List by a writ of mandamus compelling the same.




                                                    22
            Case 1:24-cv-01090 Document 1 Filed 04/16/24 Page 23 of 23



       2.      Declare unlawful and set aside Defendants’ imposition of sanctions on Plaintiffs

and direct the lifting of all sanctions and direct the lifting of all sanctions by a writ of mandamus

compelling the same.

       3.      Permanently enjoin Defendants from imposing sanctions against Plaintiffs of the

type and nature and based on the allegations made against Plaintiffs by Defendants in this case.

       4.      Enter judgment in Plaintiffs’ favor on all counts.

       5.      Award Plaintiffs their attorneys’ fees and costs pursuant to 28 U.S.C. § 2412 or

other appropriate authority.

       6.      Any other such relief as the Court deems just and proper.

Dated: April 16, 2024

                                              Respectfully submitted,

                                          By: /s/
                                             Amir Toossi
                                             Akrivis Law Group, PLLC
                                             747 Third Avenue, 32nd Floor
                                             New York, NY 10022
                                             atoossi@akrivislaw.com
                                             (347) 949-0548

                                              Farhad Alavi
                                              Akrivis Law Group, PLLC
                                              5335 Wisconsin Avenue NW
                                              Suite 440
                                              Washington, DC 20015
                                              falavi@akrivislaw.com
                                              (202) 686-4859

                                              Counsel for Plaintiffs




                                                 23
